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4                          UNITED STATES DISTRICT COURT

5                         EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,                No.    2:13-cr-084-GEB
8                   Plaintiff,                TENATIVE FINDINGS ON OBJECTIONS
                                              TO PRESENTENCE REPORT
9          v.
10   ANITA SHARMA,
11                  Defendant.
12

13                Defendant objects to paragraph 37 in the Presentence

14   Report,    arguing   she    was   a   minor    participant   in   the   criminal

15   activities involved in her convictions and therefore deserves a 2

16   level decrease in her offense level under U.S.S.G. § 3B1.2(b).

17   “[I]t is well established that the defendant bears the burden of

18   proving that [s]he is entitled to a downward adjustment based on

19   h[er] role in the offense.”            United States v. Rodriguez-Castro,

20   641   F.3d   1189,   1193    (9th     Cir.    2011)   (citation   and   internal

21   quotations and brackets omitted).

22                Defendant engaged in the fraudulent criminal activities

23   of purchasing five properties she knew she could not legitimately

24   purchase, and it is pellucid that she understood the scope and

25   structure of the criminal activities involved with the purchases.

26   Defendant repeatedly lied in order to get loans from lending

27   institutions for the purchases and knew that loan applications

28   she signed contained fraudulent information.                 Even though her
                                             1
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1    salary was less than $35,000 a year, she bought five homes for

2    over $4 million.           See Presentence Report (“PSR”) ¶ 13, ECF No.

3    206.     She also met with accountant Willie McBride in order to

4    have fraudulent tax returns created for the purchase scheme, and

5    she confirmed misrepresentations to him about her employment and

6    income.      Id. ¶ 11.

7                   Defendant     was   paid    to       purchase      houses     she   knew     she

8    could    not    legitimately       qualify         to   purchase      and    deposited      the

9    money she was paid into her bank account.                         Id. ¶ 13.        Defendant

10   was aware that Rajeshwar Singh was the broker for the fraudulent

11   purchases,      and   she    bought      two       houses      from   him.        Id.   ¶   29.

12   Defendant also knew she was not the only straw buyer and knew her

13   boyfriend had been a straw buyer first.                     Id.

14                  Defendant also signed a letter containing falsehoods in

15   which she described how she was going to move to 8001 Cavalier

16   Way, why she was moving there, and why the move would not affect

17   her fictitious business.              Id. ¶ 13.             She also signed another

18   letter in which she discussed her fictitious business and gave

19   the bank a breakdown of her made up fees.                             Id.     She accepted

20   rental payments from certain tenants, and received over $20,000
21   in connection with the purchases from the Singhs.                            Id.    She also

22   received money from escrow.              Id.

23                  In   light    of    the     degree         to     which      the    defendant

24   understood the scope and structure of the criminal activities,

25   the degree to which she participated in the criminal activities,

26   and the nature and extent of her participation in the commission
27   of     the   criminal       activities,        and      benefitted          therefrom,      her

28   objection to paragraph 37 in the Presentence Report is overruled.
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1               Defendant    also    objects    to   paragraph     41   in   the

2    presentence Report arguing she should have received a reduction

3    in her total offense level in that paragraph under U.S.S.G. §

4    3E1.1(2) because she has accepted responsibility for her criminal

5    activities.    “The plain language of § 3E1.1 places the burden on

6    [Defendant] to show [s]he is deserving of the [requested offense

7    level] reduction.”     United States v. Ramos–Medina, 706 F.3d 932,

8    940 (9th Cir. 2013).       Defendant has not satisfied this burden.

9    The manner in which she challenged the evidence in this case

10   evinces she has not accepted responsibility for the extent of her

11   criminal activities.     Although she did admit some of her conduct

12   when the special agents of the Federal Bureau of Investigation

13   questioned her, she did not admit the full scope of her criminal

14   involvement.   PSR ¶ 41.    She also makes a conclusory admission of

15   wrongdoing in her post convictions statement to the Probation

16   Officer, but this statement does not demonstrate that she has

17   accepted   responsibility      for   her   criminal   activities.       Id.

18   Instead, the statement indicates her disappointment about the

19   impact her convictions have on her and members of her family.

20   Id.
21              Therefore, Defendant’s objection to paragraph 41 in the

22   Presentence Report is overruled.

23              A copy of this order shall be appended “to any copy of

24   the presentence report made available to the Bureau of Prisons.”

25   Fed. Rule Crim.Proc. 32(i)(3)(C).

26              Dated:   April 26, 2018
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